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 From:          Chilbert, Christopher (CFPB)
 To:            Paoletta, Mark (CFPB)
 Subject:       Confirming Direction from DOGE members
 Date:          Sunday, April 13, 2025 11:42:13 AM
 Attachments:   image001.png



 Mark,
 We received direction from Gavin Kliger of the DOGE team yesterday to provide him with
 access to several systems and SharePoint folders. We provided him with the requested
 access as he said he was being directed by Acting Director Vought, but Adam Martinez has
 confirmed we should remove access from the SharePoint folders and workflows this morning.

 I’d like to confirm whether we should remove access to the following as well:
         Ability to disable employee email accounts and manage the CFPB email system
         generally
         Ability to prevent access to CFPB laptops for employees

 Thanks,

 Chris Chilbert
 Chief Information Officer | Technology & Innovation
 (202)435-9880

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     Book time to meet with me




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